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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA

                                     :
                                     :
DEBORAH LAUFER, Individually,
                                     :
                                     :
             Plaintiff,              :                  Case No. 3:19-cv-04885_____________
                                     :
v.                                   :
                                     :
ROYA INTERNATIONAL HOTEL             :
INVESTMENTS, LLC d/b/a ROYA HOTEL :
FORT WALTON BEACH, a Florida Limited :
Liability Company,                   :

            Defendant.
___________________________________/

                PLAINTIFF’S MOTION FOR ENTRY OF JUDGMENT
               AFTER DEFAULT AND VERIFIED APPLICATION FOR
             ATTORNEY FEES, COSTS, EXPERT FEES AND LITIGATION
              EXPENSES WITH MEMORANDUM OF LAW IN SUPPORT

       Plaintiff DEBORAH LAUFER(“Plaintiff”), pursuant to the provisions of Rule 55(b)(2) of

the Federal Rules of Civil Procedure, moves this Court to enter Judgment after Default against

Defendant, ROYA INTERNATIONAL HOTEL INVESTMENTS, LLC d/b/a ROYA HOTEL FORT

WALTON BEACH.

               PROCEDURAL HISTORY AND FACTUAL BACKGROUND

       This is an action for injunctive relief and attorneys’ fees and costs pursuant to 42 U.S.C.

§12181, et seq. (“Americans With Disabilities Act” or “ADA”). The individual Plaintiff, Patricia

Kennedy, qualifies as a disabled person within the meaning of the ADA. Plaintiff is unable to

engage in the major life activity of walking more than a few steps without assistive devices. Instead,

Plaintiff is bound to ambulate in a wheelchair or with a cane or other support and has limited use of


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her hands. She is unable to tightly grasp, pinch and twist of the wrist to operate. Plaintiff is also

vision impaired. The subject property is a hotel.

       Defendant was served with the summons and complaint on December 12, 2019 [DE 6].

The Defendant failed to file an answer. The Plaintiff filed a Request for a Clerk’s Default. [DE 7].

Therefore, a Clerk’s Default was entered against Defendant on January 22, 2020. [DE 8].

                                   MEMORANDUM OF LAW

I.     PLAINTIFF IS ENTITLED TO FINAL DEFAULT JUDGMENT

       This Court has original jurisdiction over the action pursuant to 28 U.S.C. §1331 and 1343

for Plaintiff’s claims arising under 28 U.S.C. §12181, et seq., based on Defendants’ violations of

Title III of the Americans With Disabilities Act (see also, 28 U.S.C. §2201 and §2202).

       Pursuant to the provisions of Rule 55 of the Federal Rules of Civil Procedure, when a party

against whom affirmative relief is sought has failed to plead or otherwise defend as provided by the

Rules of Civil Procedure, such as the Defendants in this cause, a default shall be entered against that

party. In this instance, Defendants were properly served with the Complaint filed herein and failed

to respond in any manner. Therefore, a final default judgment should be entered by the Court against

Defendants based upon evidence provided by a supporting affidavit and/or a hearing if necessary.

       Defendant, as the owner and operator of a place of lodging known as ROYA HOTEL FORT

WALTON BEACH, located at 322 Miracle Strip Pkwy SW, Fort Walton Beach, FL 32548, (“the

Property” or “the Hotel”), is required to comply with the ADA, as well as the standards applicable

to places of public accommodation, as set forth in the Code of Federal Regulations, incorporated

by reference into the ADA. These regulations impose requirements pertaining to places of public




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accommodation, including places of lodging, to ensure that they are accessible to disabled

individuals. More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following requirements:

       Reservations made by places of lodging. A public accommodation that owns, leases or

       leases to or operates a place of lodging shall, with respect to reservations made by any means,

       including by telephone, in-person, or through a third party –

               (i)     Modify its policies, practices, or procedures to ensure that individuals with
                       disabilities can make reservations for accessible guest rooms during the same
                       hours and in the same manner as individuals who do not need accessible
                       rooms;
               (ii)    Identify and describe accessible features in the hotels and guest rooms offered
                       through its reservations service in enough detail to reasonably permit
                       individuals with disabilities to assess independently whether a given hotel or
                       guest room meets his or her accessibility needs;
               (iii)   Ensure that accessible guest rooms are held for use by individuals with
                       disabilities until all other guest rooms of that type have been rented and the
                       accessible room requested is the only remaining room of that type;
               (iv)    Reserve, upon request, accessible guest rooms or specific types of guest
                       rooms and ensure that the guest rooms requested are blocked and removed
                       from all reservations systems; and
               (v)     Guarantee that the specific accessible guest room reserved through its
                       reservations service is held for the reserving customer, regardless of whether
                       a specific room is held in response to reservations made by others.

The Defendant, either by itself or through a third party, implemented, operates, controls and/or

maintains the following website for the Property: http://www.royahotelfortwaltonbeach.com/ and

through booking.com, hotels.com, orbitz.com, agoda.com, priceline.com and expedia.com.

       Prior to the commencement of this lawsuit, the Plaintiff visited the website for the purpose

of reviewing and assessing the accessible features at the Property and ascertain whether it meets the

requirements of 28.C.V.R. Section 36.302(e) and her accessibility needs. Plaintiff was unable to do

so because Defendant has failed to comply with said requirements, and as a result the Plaintiff was

deprived of the same goods, services, features, facilities, benefits, advantages, and accommodations


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of the property and website available to the general public. Plaintiff intends to revisit the

Defendant’s website in the near future to reserve a guest room and otherwise avail herself of the

goods, services, features, facilities, benefits advantages, and accommodations of the Property, but

she is continuously aware that the subject website remains non-compliant and it would be a futile

gesture to revisit the website as long as those violations exist, unless she is willing to suffer

additional discrimination. Venue is proper in this jurisdiction because this is were the injury

occurred.

        Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

Justice, Office of the Attorney General, promulgated federal regulations to implement the

requirements of the ADA. 28 CFR Part 36. Defendant is in violation of 42 U.S.C. 12181 et seq.,

and 28 CFR 36.302 et seq., and is discriminating against Plaintiff. The discrimination is based on

the Defendant’s denying Plaintiff full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations as prohibited by 42 U.S.C. §12182 et seq., and by

depriving her of the information required to make meaningful choices for travel. By maintaining the

website with violations, Defendant deprives Plaintiff the equality of opportunity offered to the

general public.

        Pursuant to 42 U.S.C. 12188(a)(2), this Court is provided authority to grant Plaintiff’s

injunctive relief, including an Order to alter the website to make it readily accessible to and useable

by individuals with disabilities to the extent required by the ADA. Courts have granted motions for

default judgment based on website discrimination involving hotel online reservations systems. See,

e.g., Kennedy v. Londamerican Real Estate Ltd., 19-cv-61228-SMITH/VALLE, DE 18 (S.D. Fla.

8/21/2019); Kennedy v. Guruhari Hospitality, LLC, 0:19-cv-61139-WPD, DE 18 (S.D. Fla.


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7/11/2019); Kennedy v. Moreno, 19-60550-CIV-ALTMAN, DE 20, (S.D. Fla. 6/26/2019); Kennedy

v. Pacifica Tampa Ltd Partnership, 5:17-cv-442-JSM-PRL, DE 7 (M.D. Fla. 1/25/18). Kennedy v.

Fernandez, 19-60876, DE 18 (S.D. Fla. 6/11/2019); Kennedy v. Astoria Hotel Suites, LLC, 19-cv-

60160, DE 17 (S.D. Fla. 3/22/19); Kennedy v. Dockside View, LLC, 2:18-cv-14444-KAM (S.D. Fla.

1/19/19); Kennedy v. Cape Siesta Motel, LLC, 18-81811, 0:18-cv-61811-MGC, DE 20 (S.D. Fla.

1/18/2019); Kennedy v. Shivnit, Inc., 0:18-cv-63094-UU, DE 12 (S.D. Fla. 1/30/19); Kennedy v.

Terrace Park Suites, LLC, 0:19-cv-60012-DPG (S.D. Fla. 3/21/19); Kennedy v. Shree Ram Jalaram,

Inc., 19-60708, DE 13 (S.D. Fla. 4/18/2019); and Kennedy v. Rushi Hospitality LLC, 18-cv-62259-

WPD, DE 26 (S.D. Fla. 2/6/19). These include the entry of judgment mandating that the Defendants

bring their websites into full compliance with the ADA. Further, the Courts stated that Plaintiff is

entitled to their attorney fees, costs, litigation expenses and expert fees incurred.

                                          CONCLUSION

        WHEREFORE, Plaintiff respectfully moves this Court to enter Judgment After Default

against the Defendant, enjoining it from discriminating against individuals with disabilities and

remediating its websites to bring it into compliance with the Regulation.



                                               Respectfully submitted,

                                               Attorney for Plaintiff:

                                               /s/ Kimberly A. Corkill, Esq.

                                               Kimberly A. Corkill, Of Counsel
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was mailed to the Defendants

at the address listed below this 24th day of January 2020.

ROYA INTERNATIONAL HOTEL INVESTMENTS, LLC d/b/a ROYA HOTEL FORT
WALTON BEACH
c/o AMI AKKAN
322 MIRACLE STRIP PKWY SW
FORT WALTON BEACH, FL 32548



                                                             /s/ Kimberly Corkill




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